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                                                                                                                                    FILED
                                                                                                                              U.S. DISTRICT CQ.YJ\l......
                                                                                                                          EASTERN DISTRICT A ~
AO 243 (Rev. 01/15)                       .. ,. rr~-~-~:v:~?. ~· ·~•;                                                               OCT Ot-!1121
                          MOTION      l.J:NiJER '2s -U .s:c. §- 2255 TO VACATE, SET ASIDE, OR CORRECT
                                                  ~~u BiA"=l!-fON IN FEDERAL CUSTODY
                                                                                                                         TAMMYH.
                                                  -..,l     .           .

United:States:..D-istdc:t...:Cou.n                                      - :District
Name (under which you were convicted):




UNITED STATES OF AMERICA                                                              Movant (include name under which convicted)
                                                                   V.

                                                                     MOTION

    I.        (a) Name and location of court which entered the judgment of conviction you are challenging:




   2.         (a) Date of the judgment of conviction (if you know):
                                                                               ------------------
              (b) Date of sentencing:     sute.rnbe.r cl~ a.o a.o
   3.        Length of sentence:         I 5' 5     }1    on½hs     w/ 5 ye..o..t.s       Super yi $ \ 0 0.
   4.        Natureofcrime(allcounts):            aJ: 8~6 Sctc. SYl-851 At+e..Mpt
                a,: 84b -6- 8'-ll{AX1) ~(1aX,xA-) Consp,ro..c.y to                       ~-,~rr\bvte.. A-
                 ~'w' l. T~    .Meth A~+ut1.I



   5_
                  (1) Not guilty    •.
             (a) What was your plea? (Check one)
                                                                (2) Guilty      ~              (3) Nolo contendere (no contest)        D
             (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
             what did you plead guilty to and what did you plead not guilty to?




  6.         If you went to trial, what kind of trial did you have? (Check one)                     Jury   •           Judge only    D
  7.         Did you testify at a pretrial hearing, trial, or post-trial hearing?           Yes   •                    No~

  8.         Did you appeal from the judgment of conviction?                      YesO                No~
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     9.        If you did appeal, answer the following:
               (a) Name of court:
               (b) Docket or case number (if you know):
               (r.) Re:imlt·
               (d) Date ofresult (if you know): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               (e) Citation to the case (if you know):
               (f)   Grounds raised:




              (g) Did you file a petition for certiorari in the United States _Supreme Court?     Yes   D            NolKJ
                      If "Yes," answer the following:
                      (1) Docket or case number (if you know): - - - - - - - - - - - - - - - - - - - - - - - -
                      (2) R e s u l t : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                      (3) Date of result (if you know):
                      (4) Citation to the case (if you know):
                      (5)   Grounds raised:




  I 0.        Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications, ·
              concetnt this judgent of conviction in any court?
               Yes           NoL2SJ

 11.          If your answer to Question 10 was "Yes," give the following information:
              (a) (1) Name of court:
                     (2) Docket or case number (if you know):
                     (3) Date of filing (if you know):
                                                         ----------------------------
                (4) Nature ofthe proceeding:
                (5) Grounds raised:
                                          --------------------------------
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               (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                         YesO         NoO
               (7) Result:
                             -------------------------------------
               ( 8) Date ofresult (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
               (1) Name of court:
                                     ----------------------------------
               (2) Docket of case numl?er (if you know):
                                              -------------------------
               (3) Date of filing (if you know):
               (4) Nature of the proceeding:
               (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                         YesO        NoO
              (7) Result:
              (8) Date ofresult (if youlc.-10w):
        (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
        or application?
              (I) First petition:          YesO            NoO
              (2) Second petition:        Yes   D          No   D
        (d) If you did not appear from the action on any motion, petition, or application, explain briefly why you did not:




12.     For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
        laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
        supporting each ground.
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GROUNDONE:     A±±oro.e..y le.o Moote.re.y Wa..5. 'Ine.tfe.cr\vf., \c v',o\crt\on of
  :\:he. b+h Aroe.ndm(.O\: durlo8 tbe. p\e,Q, Proc.es~.
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




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        (b) Direct Appeal of Ground One:
             (I) If you appealed from the judgment of conviction, did you raise this issue?
                       YesO           No~
             (2) If you did not raise this issue in your direct appeal, explain why:




        (c) Post-Conviction Proceedings:
             (I) Did you raise this issue in any post-conviction motion, petition, or application?
                       ·YesO         No~
             (2). If you answer to Question (c)(]) is "Yes," state:
             Type of motion or petition:
             Name and location of the court where the motion or petition was filed:


             Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order, if available):



             (3) Did you receive a hearing on your motion, petition, or application?
                   YesD           NoO
            (4) Did you appeal from the denial of your motion, petition, or application?
                       YesO          NoO
            (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesO          NoO
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              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




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        (a) Supporting facts (Do not argue or cite law. Ju; state the specific facts that support your claim.):


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   de.eci ve. a Mr. \:\awe,\l a :E e.f fe,cf,ve, Ci>vnstl due,"'& a.

       (b) Direct Appeal of Ground Two:
            (I) If you appealed from the judgment of conviction, did you raise this issue?
                        YesO         No~




            (2) If you did not raise this issue in your direct appeal, explain why:




       (c) Post-Conviction Proceedings:
            (I) Did you raise this issue in any post-conviction motion, petition, or application?
                       YesO         No~
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               (2) If you answer to Question (c)(l) is "Yes," state:
               Type of motion or petition:
               Name and location of the court where the motion or petition was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):



               (3) Did you receive a hearing on your motion, petition, or application?
                          YesO         NoO
              (4) Did you appeal from the denial of your motion, petition, or application?
                          YesO         NoO
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          YesO         NoO
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:.




GROUND THREE:               -1ll±.oro.~l lea_ i1onte.ce.y                     WtAS     Toe.ffe.u·,ve... '(\,
v,o\o.t,of\ 0£ tbe.                    l,t Aroe.odrne.nt o..;\-              ~eo\e.nc.,ns•
        (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




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           reoJJ\fed 'oy \ 8 u.~.c. § 355a.(d). /1c. Hawe.\\ te.q..ue.~\e,d :\:o •
           Se,.e,_ \\,~ f>.$.I. ~6 Of :to ~o:\:e.~c:w,a, [E)(, i].

         (b) Direct Appeal of Ground Three:
              (I) If you appealed from the judgment of conviction, did you raise this issue?
                       YesO              No~
              (2) If you did not raise this issue in your direct appeal, explain why:




        (c) Post-Conviction Proceedings:
             (I) Did you raise this issue in any post-conviction motion, petition, or application?
                       YesO              NoO
                                     y
             ~2) If you answer to Question (c)(J) is "Yes," state:
             Type of motion or petition:
             Name and location of the court where the motion or petition was filed:


             Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order. if available):




             (3) Did you receive a hearing on your motion, petition, or application?
                       YesO          NoO


                      'T--
                       J .::,   •
             (4) Did you appeal from the denial of your motion, petition, or application?
                                     N-
                                     J u   n
                                           I....-'

            ( 5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                      YesO           NoO



            (6) If your answer to Question (c)(4) is "Yes," state:
            Name and location of the court where the anneal was filed:


            Docket or case number (if you know):
            Date of the court's decision:
            Result (attach a copy of the court's opinion or order, if available):
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             (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
             issue:




GROUND FOUR:


        (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




        (b) Direct Appeal of Ground Four:
            {I) If you appealed from the judgment of conviction, did you raise this issue?
                      YesO          NoO
            (2) If you did not raise this issue in your direct appeal, explain why:




       (c) Post-Conviction Proceedings:
            {I) Did you raise this issue in any post-conviction motion, petition, or application?
                      YesO          NoO


            (2) If you answer to Question (c)(]) is "Yes," state:
            Type of motion or petition:
            Name and location of the court where the motion or petition was filed:


           Docket or case number (if you know):
           Date oftlie court's decision:
           Result (attach a copy of the court's opinion or order, if available):
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              (3) Did you receive a hearing on your motion, petition, or application?
                        YesO         NoO
              (4) Did you appeal from the denial of your motion, petition, or application?
                        YesO         NoO
              (5) lf your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                        YesO         NoO
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order, if available):




             (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
             issue:




 13.    Is there any ground in this motion that you have not previously presented in some federal court? If so, which
        ground or grounds have not been presented, and state your reasons for not presenting them:

             S-r-ou "d$ 1- 3 h °'5 oo* be.en ~r~v;ou$\y' ~re..se." te..d
             be.C.~vse. ~ JJ.5 5 ;s proper veh\c.\(!. tor <e.\'.~f.




14.    Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
       you are challenging?       Yes        D     No ~
       If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the
       issues raised.
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 15.     Give the name and address, if known, of each attorney who represented you in the following stages of the
         you are challenging:
         (a) At the preliminary hearing:

                le.a .Ma11te ret
         (b) At the arraignment and plea.

               Le.o      Mo(] r~ce.y
         (c) Atthetrial:


         (d) At sentencing:

              lea .Moiltere.y
        (e) On appeal:


        (f) In any post-conviction proceeding:

                         v'/11
        (g) On appeal from any ruling against you in a post-conviction proceeding:




 16.    Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
        and at the same time?         Yes     D       No    18'
17.     Do you have any future sentence to serve aftt><fu complete the sentence for the judgment that you are
        challenging?            Yes  D          No
        (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




        (b) Give the date the other sentence was imposed:
                                                            -----------------------
       (c) Give the length of the other sentence:
                                                    --------------------------
       (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
       sentence to be served in the future?           Yes   D         No   D
18.    TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
       why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*
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        * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2255,
        paragraph 6, provides in part that:
           A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
           from the latest of -
               (I) the date on which the judgment of conviction became final;
               (2) the date on which the impediment to making a motion created by governmental action in violation of
               the Constitution or laws of the United States is removed, if the movant was prevented from making such a
               motion by such governmental action;
               (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
               been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
               review; or
               (4) the date on which the facts supporting the claim or claims presented could have been discovered
               through the exercise of due diligence.
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    Therefore. movant asks that the Court grant the following relief:


          :ro V0,,c.o.,te_ &n vic.·b 00                     dO d      &e.ote.n c.e.
    or any other relief to which movant may be entitled.




                                                                           Signature of Attorney (if any)




    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
    under 28 U.S.C. § 2255 was placed in the prison mailing system on         Se.p~. a_7 1 d\O~f
                                                                                            (month, date, year)




    Executed (signed) on       g fi 2 7 ~ 2CJ 2 /
                             ----,---=-~-----~--                          (date)




                                                                          Signature of Movant


    lf the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.
                                     ti/A-
